260 F.2d 647
    E. A. DAWLEY, Jr., Appellant,v.CITY OF NORFOLK, VIRGINIA, a municipal corporation; ThomasF. Maxwell, City Manager, City of Norfolk, Virginia; CalvinH. Dalby, Director of Public Safety, City of Norfolk,Virginia; et al., Appellees.
    No. 7687.
    United States Court of Appeals Fourth Circuit.
    Argued Oct. 14, 1958.Decided Oct. 15, 1958.
    
      E. A. Dawley, Jr., Norfolk, Va., in pro. per.
      Leonard H. Davis, City Atty., Norfolk, Va.  (Virgil S. Gore, Jr., Asst. City Atty., Norflok, Va., on the brief), for appellees.
      Before SOBELOFF, Chief Judge, and SOPER and HAYNSWORTH, Circuit judges.
      PER CURIAM.
    
    
      1
      E. A. Dawley, Jr., an attorney of the Negro race practicing law at Norfolk, Virginia, seeks in this case a declaratory judgment and a permanent injunction restraining the City of Norfolk, Virginia, and certain of its administrative officers from maintaining certain signs in the State courthouse in that city indicating the segregation of the races in the public restrooms maintained in the building for men and women.  The District Judge after hearing, without expressing approval of the practice and without prejudice to the right of the plaintiff to seek an appropriate remedy in the State court, dismissed the complaint.  We think this action was properly taken.  Whether or not the Federal court should take cognizance of the case and grant the relief prayed was within the sound discretion of the District Judge sitting in a court of equity.  The matter was one which affected the internal operations of the court of the State and within its power to regulate.  Under these circumstances, interference on the part of the Federal court was not required and the action of the District Judge in dismissing the case was in accord with the principles laid down in Com. of Pennsylvania v. Williams, 294 U.S. 176, 185, 55 S.Ct. 380, 79 L.Ed. 841.
    
    
      2
      Affirmed.
    
    